                             Case 1:21-cr-00378-TJK Document 31 Filed 07/15/21 Page 1 of 1

 AO 442 (Rev. 0 I109) Arrest Warrant



                                              UNITED STATES DISTRICT COURT
                                                                                             for the

                                                                            District of Columbia


                        United States of America
                                     v.                                                         )          Case: 1:21-cr-00378
                        EDWARD GEORGE, JR.                                                      )
                                                                                                           Assigned To : Judge Timothy J. Kelly
                                                                                                )
                                                                                                           Assign. Date: 7/7/2021
                                                                                                )
                                                                                                )
                                                                                                           Description: SUPERSEDING INDICTMENT (8)
                                  Defendant                                                                Related Case: 21-cr-378(T JK)

                                                              ARREST WARRANT
To:          Any authorized law enforcement officer


             YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)           EDWARD GEO~GE. __
                                                         ,J_R_.                                                                      .                                            _
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment             if    Superseding Indictment                   CJ Information                      CJ Superseding Infonnation                     CJ Complaint
tJ Probation Violation Petition                 0 Supervised Release Violation Petition                                        0 Violation Notice              0 Order of the Court

This offense is briefly described as follows:
 18 U.S.C. §§ 1S12(c)(2), 2 (Obstruction of an Official Proceeding, Aiding and Abetting); 18 U.S.C. § 1752(a)(1) (Entering
 and Remaining in a Restricted Building or Grounds);18 U.S.C. § 1752(a)(2) (Disorderly and Disruptive Conduct in a
 Restricted Building or Grounds); 40 U.S.C. § 5104(e)(2)(B) (Entering and Remaining in the Gallery of Congress); 40
 U.S.C. § 5104(e)(2)(D) (Disorderly Conduct in a Capitol Building); 40 U.S.C. § 5104(e)(2)(G) (Parading, Demonstrating, or
 Picketing in a Capitol Building);18 U.S.C. § 231 (a)(3) (Civil Disorder); 18 U.S.C. § 111(a)(1) (Assaulting, Resisting Certain
 Officers);18 U.S.C. §§ 641,2 (Theft of Government Property, Aiding and Abetting)
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                                                                                                                                                 G. Michael Harvey                D
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Date:       07/07/2021                                                 ANGELAD,CAESAR,ClERK                          _..cc__--..!:                                            _
                                                                         Digitally signed by                                    Isslling officer's signature
                                                . Laurence               LaurencePlerre.Louls

                                                 Pierre-Lolli is         Date: 2021.07.08
City and state:           Washington D.C.                                13:01:10-04'00'                        G. Michael Harve~, U.S. Magistrate Jud e
                                                                                                                                     Printed name and title


                                                                                            Return
            This warrant was receivpd on        (date)    -n D~.,                                    and the person was arrested on                (date)     OJIIS/doel
at   (city and state)   ICUdGtkwll:e                     _ ({)Lt (ItL .
Date:      D1UCSldOd-L_

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